     Case 1:18-cv-03919-SDG     Document 65    Filed 03/20/20   Page 1 of 25




                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

 ENERGY INNOVATION COMPANY, LLC,
       Plaintiff/Counterclaim Defendant,
                                                          Civil Action No.
                       v.
                                                         1:18-cv-03919-SDG
 NCR CORPORATION,
       Defendant/Counterclaim Plaintiff.

                                    ORDER

      This matter is before the Court on Counterclaim Plaintiff NCR

Corporation’s Motion for Summary Judgment [ECF 50]. For the reasons stated

below, the motion is GRANTED.

I.    BACKGROUND

      A.    Facts

      Unless otherwise noted, the following facts are not disputed by the parties

or are supported by undisputed evidence in the record. On September 29, 2001,

Earl Wong and Gordon Miles, the named inventors of U.S. Patent No. 6,119,933

(“‘933 Patent”), assigned their interest in that patent to Copient Technologies,
      Case 1:18-cv-03919-SDG         Document 65     Filed 03/20/20   Page 2 of 25




LLC. 1 Copient granted Wong and Miles an ongoing royalty in exchange for title to

the ‘933 patent. 2

          In March 2003, NCR conditionally agreed to purchase substantially all of

Copient’s assets. 3 Prior to the closing of the asset purchase agreement between

NCR and Copient, Copient executed a written agreement with Wong and Miles

by which Copient assigned “all right, title, and interest” in the ‘933 Patent back to

Wong and Miles (“2003 Patent Assignment Agreement”). 4 As part of the 2003

Patent Assignment Agreement, Copient agreed to pay Wong and Miles $250,000,

as well as certain royalties. 5 Wong and Miles, in turn, surrendered all other

royalties and agreed to certain covenants and conditions. 6

          One of those covenants, colloquially known as a “covenant not to sue,”

states:

                Assignees jointly and severally, and on behalf of all heirs,
                devisees,    executors,     personal     representatives,
                administrators, successors, assigns, licensees, and legal
                representatives, hereby covenant and agree not to


1   ECF 54-1, ¶ 1.
2   Id. ¶ 2.
3   Id. ¶ 3.
4   Id. ¶ 4.
5   Id. ¶ 5.
6   Id. ¶¶ 5–11.
       Case 1:18-cv-03919-SDG         Document 65      Filed 03/20/20   Page 3 of 25




                 initiate, maintain, authorize, or participate in any suit,
                 claim, counterclaim, or action, whether in law or equity,
                 against Assignor or its successors, assigns, and legal
                 representatives, for any cause of action or liability arising
                 from or related to or based in whole or in part on: (a) any
                 alleged infringement of the Patent or any claim thereof;
                 and/or (b) any alleged infringement of Assignee’s
                 intellectual property rights in and to the Patent and the
                 Invention. 7

On March 26, 2003, NCR and Copient executed the asset purchase agreement,

whereby Copient assigned its rights under the 2003 Patent Assignment Agreement

to NCR. 8

       On February 2, 2018, Wong and Miles assigned all their rights in the ‘933

Patent to Counterclaim Defendant Energy Innovation Company, LLC (“EIC”). 9

While EIC and NCR dispute EIC’s assets, corporate structure, and business, EIC

previously agreed, and the Court has found, that EIC is a “holding company

whose sole asset is the [‘933 Patent] and sole officer is Wong.” 10

       On March 5, 2018, EIC initiated this action in the United States District Court

for the Southern District of California. 11 EIC asserted that NCR infringed the ‘933


7    ECF 20-2, at 3 ¶ 7.
8    ECF 54-1, ¶¶ 12–13.
9    Id. ¶ 14.
10   ECF 41, at 3. See also ECF 20, ¶ 39; ECF 25, ¶ 39.
11   ECF 1.
       Case 1:18-cv-03919-SDG       Document 65    Filed 03/20/20   Page 4 of 25




Patent through its Copient Solution functionality, which was previously licensed

under the ‘933 Patent. 12 As EIC’s sole officer, Wong authorized EIC to initiate and

maintain the lawsuit. 13

           On August 18, 2018, the action was transferred to this Court. 14 On August

30, 2018, NCR filed its answer and asserted three counterclaims against EIC. 15

Counterclaim Count I asserts breach of contract by EIC for allegedly violating the

covenant not to sue in the 2003 Patent Assignment Agreement. 16 Counterclaim

Counts II and III seek declaratory judgments that NCR did not infringe upon the

‘933 patent and the ‘933 patent is otherwise invalid. 17 NCR also seeks its attorney’s

fees and litigation costs. 18

           On November 29, 2018, the Court granted NCR’s motion for summary

judgment on EIC’s patent infringement claim. 19 The Court specifically found that




12   Id.
13   ECF 54-1, ¶ 18.
14   ECF 18.
15   ECF 20.
16   Id. ¶¶ 43–48.
17   Id. ¶¶ 49–59.
18   Id. at 14.
19   ECF 41.
       Case 1:18-cv-03919-SDG      Document 65   Filed 03/20/20   Page 5 of 25




the 2003 Patent Assignment Agreement is a valid and enforceable contract,

including the covenant not to sue. 20 The Court also found NCR became Copient’s

“successor in interest” when it purchased substantially all of Copient’s assets,

including its rights in the patent assignment agreement. 21 Thus, “when [EIC]

acquired the [‘933 Patent], it acquired it subject to the covenant not to sue.” 22

Therefore, as a matter of contract interpretation, EIC was barred from maintaining

its infringement claim against NCR.

           The Court’s ruling rendered NCR’s Counterclaim Counts II and III moot

and left Counterclaim Count I (breach of contract) as the sole remaining claim. On

March 22, 2019, the Court denied NCR’s motion to join Wong as a named

defendant based on a lack of personal jurisdiction over him. 23 On April 19, 2019,

NCR filed the instant motion for summary judgment on Count I of its

counterclaims. 24 EIC responded on May 17, 2019. 25 NCR replied on May 31, 2019.26




20   Id. at 8–11.
21   Id. at 11.
22   Id.
23   ECF 47.
24   ECF 50.
25   ECF 54.
26   ECF 57; ECF 58; ECF 59.
      Case 1:18-cv-03919-SDG       Document 65     Filed 03/20/20    Page 6 of 25




II.   LEGAL STANDARD

      Summary judgment is appropriate when “there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). A fact is “material” only if it can affect the outcome of the

lawsuit under the governing legal principles. Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248 (1986). A factual dispute is “genuine . . . if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Id.

      A party seeking summary judgment has the burden of informing the district

court of the basis for its motion and identifying those portions of the record that

demonstrate the absence of a genuine issue of material fact. Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986). If a movant meets its burden, the party opposing summary

judgment must present evidence showing either (1) a genuine issue of material

fact or (2) that the movant is not entitled to judgment as a matter of law. Id. at 324.

      In determining whether a genuine issue of material fact exists, the evidence

is viewed in the light most favorable to the party opposing summary judgment,

“and all justifiable inferences are to be drawn” in favor of that party. Anderson,

477 U.S. at 255. See also Herzog v. Castle Rock Entm’t, 193 F.3d 1241, 1246

(11th Cir. 1999). “Credibility determinations, the weighing of the evidence, and the

drawing of legitimate inferences from the facts are jury functions,” and cannot be
       Case 1:18-cv-03919-SDG       Document 65      Filed 03/20/20    Page 7 of 25




made by the district court. Anderson, 477 U.S. at 255. See also Graham v. State Farm

Mut. Ins. Co., 193 F.3d 1274, 1282 (11th Cir. 1999). Summary judgment for the

moving party is proper “[w]here the record taken as a whole could not lead a

rational trier of fact to find for the non-moving party.” Matsushita Elec. Indus. Co.

v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

III.   DISCUSSION

       A.    NCR Is Entitled to Summary Judgment on Its Breach of Contract
             Claim (Count I).

             i.     Choice of Law

       “In diversity cases, the choice-of-law rules of the forum state determine

what law governs.” Interface Kanner, LLC v. JPMorgan Chase Bank, N.A., 704 F.3d

927, 932 (11th Cir. 2013). “Pursuant to Georgia law, contractual choice-of-law

provisions will be enforced unless application of the chosen law would be contrary

to the public policy or prejudicial to the interests of this state.” Nat’l Freight, Inc. v.

Consol. Container Co., LP, 166 F. Supp. 3d 1320, 1326 (N.D. Ga. 2015) (quoting CS–

Lakeview at Gwinnett, Inc. v. Simon Prop. Grp., Inc., 283 Ga. 426, 428 (2008)).

       Paragraph 12 of the 2003 Patent Assignment Agreement states:

“This Agreement shall be governed by and construed in accordance with the laws
      Case 1:18-cv-03919-SDG      Document 65      Filed 03/20/20   Page 8 of 25




of the State of Indiana, excluding all conflict of law provisions thereof.” 27 The

parties do not dispute the applicability of Indiana law and neither has suggested

that such an application would violate public policy or be prejudicial to the

interests of any state. Accordingly, the choice of law provision is valid and Indiana

law applies to this dispute.

              ii.   Analysis

       In Indiana, when “interpreting an agreement, the court is under an

obligation to read the agreement in a manner which harmonizes its provisions as

a whole and to give effect to the parties’ expressed intent.” Trustees of Indiana Univ.

v. Cohen, 910 N.E.2d 251, 257 (Ind. Ct. App. 2009) (citing Kelly v. Smith, 611 N.E.2d

118, 121 (Ind. 1993)). “Clear, plain, and unambiguous terms are conclusive of that

intent.” Id. “The construction of an unambiguous contract is a question of law for

which summary judgment is particularly appropriate.” Rogovsky Enter., Inc. v.

Masterbrand Cabinets, Inc., No. 3:15-cv-00022-RLY-MPB, 2016 WL 6432620, at *1

(S.D. Ind. Oct. 31, 2016) (citing Cohen, 910 N.E.2d at 257 (“Generally, the

construction of a written contract is a question of law for which summary

judgment is particularly appropriate.”)). The necessary elements of a breach of




27   ECF 20-2, at 4 ¶ 12.
      Case 1:18-cv-03919-SDG       Document 65     Filed 03/20/20   Page 9 of 25




contract claim are “1) the existence of a contract; 2) the defendant’s breach thereof;

and 3) damages.” Hopper v. Colonial Motel Props., Inc., 762 N.E.2d 181, 187 (Ind. Ct.

App. 2002) (citing Fowler v. Campbell, 612 N.E.2d 596, 600 (Ind. Ct. App. 1993)).

                       1.   Existence of a Contract

       In its November 28, 2018 Order, the Court established that the 2003 Patent

Assignment Agreement, executed by Copient, Wong, and Miles, is a valid and

enforceable contract. 28 It is undisputed that Wong and Miles assigned their interest

in the ‘933 Patent, including the 2003 Patent Assignment Agreement, to EIC on

February 2, 2018. 29 Therefore, the first element in the breach of contract analysis is

satisfied.

                       2.   Breach of the Contract

       In the February 2, 2018 patent assignment to EIC, Wong and Miles agreed

to “sell, assign and transfer to [EIC], the entire right, title and interest in and to

[the ’933 Patent].” 30 In its November 28, 2018 Order, the Court held that “Energy




28   ECF 41, at 8–11.
29   Id; ECF 54-1, ¶ 14.
30   ECF 20-1, at 3.
      Case 1:18-cv-03919-SDG         Document 65    Filed 03/20/20   Page 10 of 25




Innovation is bound by the covenant . . . when Energy Innovation acquired the

patent, it acquired it subject to the covenant not to sue.” 31

        EIC argues that, while the Court held that EIC’s infringement claim was

barred by the covenant, “that ruling, however, does not necessarily mean that

EIC’s allegation of patent infringement was against NCR [sic] constituted an

actionable breach of the Agreement by EIC.” 32 According to EIC, “the Agreement

does not create an affirmative cause of action for breach of contract against EIC

because EIC is neither a party to, nor an assignee of, the Agreement.” 33 In support

of its argument, EIC points to paragraph 18 of the 2003 Patent Assignment

Agreement, which states:

                  A party may not assign this Agreement without the prior
                  written consent of the other parties, provided, however,
                  that Assignor may assign all of its rights and benefits
                  hereunder to a successor in interests to all or
                  substantially all of the assets of Assignor without
                  obtaining the consent of the Assignees. Any other
                  purported assignment without the consent of all other
                  parties shall be void. 34




31   ECF 41, at 11.
32   ECF 54, at 9.
33   Id. at 10.
34   ECF 20-2, ¶ 18.
      Case 1:18-cv-03919-SDG     Document 65     Filed 03/20/20   Page 11 of 25




EIC argues that Wong and Miles could not have validly assigned the 2003 Patent

Assignment Agreement to it because Wong and Miles did not receive any “prior

written consent” from NCR to such an assignment. 35 Thus, according to EIC, it

cannot be sued for breach of contract.

       EIC’s argument fails for three reasons. First, paragraph 19 of the 2003 Patent

Assignment Agreement states: “Except as otherwise specifically provided herein,

the covenants and agreements contained herein will be binding upon and inure to

the benefit of the . . . successors and assigns of the respective parties hereto.” 36

EIC does not argue that this provision is invalid or unenforceable. Thus, EIC is

bound by the Agreement as the successor in interest of Wong and Miles in the ‘933

Patent.

       Second, while EIC was not a named party to the 2003 Patent Assignment

Agreement, Wong and Miles assigned all their rights in the agreement to EIC on

February 2, 2018. The Court has already held that EIC acquired title to the ‘933

Patent from Wong and Miles, along with “all prior licenses, covenants, or other

legal encumbrances,” including the covenant not to sue in the 2003 Patent




35   ECF 54, at 10–11.
36   ECF 20-2, ¶ 19.
      Case 1:18-cv-03919-SDG      Document 65     Filed 03/20/20   Page 12 of 25




Assignment Agreement. 37 According to the plain language of the Agreement, such

an assignment of all rights in the ‘933 Patent by Wong and Miles to EIC required

no assignee consent. 38

       Finally, EIC cannot use its sole officer’s failure to comply with the terms of

the Agreement as a shield to liability. It would be unjust, and against the weight

of the relevant authorities, to permit Wong to ostensibly create a shell company,

unilaterally transfer the ‘933 Patent and 2003 Patent Assignment Agreement to that

entity, then hide behind a written consent clause to avoid liability.

       To be sure, while Wong has submitted multiple contradictory affidavits, the

record before the Court shows that EIC’s sole business activity is holding the

license to the ‘933 Patent. 39 Wong, nonetheless, asserts in conclusory fashion that

EIC “has other, unrelated assets as well, including an office, furniture, fixtures,

equipment,     business    agreements,     banking     relationships,   and    selling




37   ECF 41, at 11. See also id. at 3 (“Wong and Miles assigned the patent to Energy
     Innovation, a holding company whose sole asset is the patent and sole officer
     is Wong.”).
38   ECF 20-2, ¶ 18 (“Assignor may assign all of its rights and benefits hereunder
     to a successor in interests to all or substantially all of the assets of Assignor
     without obtaining the consent of the Assignees.”) (emphasis added).
39   ECF 54-2, ¶ 5 (“EIC is a small company which owns and licenses the patent-
     in-suit.”).
      Case 1:18-cv-03919-SDG      Document 65     Filed 03/20/20   Page 13 of 25




relationships.” 40 Wong does not provide the Court with any evidence of these

“agreements” or “relationships” to rebut the evidentiary record. The

characterization of EIC as a shell company created solely to pursue this litigation

is augmented by Wong’s admission that he formed EIC in December 2017—a mere

three months before initiating this lawsuit 41—and EIC’s concession that “Wong

authorized EIC to initiate and maintain this lawsuit.” 42

       Courts have found such consent clauses to be unenforceable or waivable in

similar circumstances. Gallagher v. S. Source Packaging, LLC, 564 F. Supp. 2d 503,

507 (E.D.N.C. 2008) (applying Indiana law and holding “Indiana courts would

strictly construe the anti-assignment clause to ensure that it serves only to protect

the non-assigning party from losing material personal performance and from the

danger of double liability”); Traicoff v. Digital Media, Inc., 439 F. Supp. 2d 872, 879

(S.D. Ind. 2006) (holding anti-assignment clause does not prohibit assignment of

rights and obligations under contract); Elzinga & Volkers, Inc. v. LSSC Corp., 838 F.

Supp. 1306, 1313 (N.D. Ind. 1993) (“[T[he court notes that the meaning of a

prohibition on assignment is a matter of interpretation for the court. In addition,



40   Id. ¶ 6.
41   ECF 45-1, ¶ 4.
42   ECF 54-1, ¶ 18.
     Case 1:18-cv-03919-SDG      Document 65     Filed 03/20/20   Page 14 of 25




because the [consent to assign] clause is a restriction on alienation, it must be

strictly construed against the party urging the restriction.”) (internal citations

omitted). Cf. Salcedo v. Toepp, 696 N.E.2d 426, 435 (Ind. Ct. App. 1998)

(“Ordinarily, a party can waive any contractual right provided for his or her

benefit. A condition in a contract may be waived by the conduct of the party.”)

(internal citations omitted).

      At best, EIC’s argument demonstrates that Wong and Miles breached the

2003 Patent Assignment Agreement by unilaterally assigning the 2003 Patent

Assignment Agreement to EIC without seeking or receiving NCR’s written

consent. EIC cannot, after losing on summary judgment, shield itself behind a

contradictory technical argument.

      Therefore, the second element in the breach of contract analysis is satisfied.

                   3.     Existence of Damages

      To prove damages in Indiana, the plaintiff has “the burden of demonstrating

that the defendant’s breach was a substantial factor contributing to the damages.”

Hopper, 762 N.E.2d at 187 (citing Holloway v. Bob Evans Farms, Inc., 695 N.E.2d 991,

995 (Ind. Ct. App. 1998)). “The test for measuring damages in a breach of contract

action is the foreseeability of such damages at the time of entering into the contract

rather than the facts existing and known to the parties at the time of the breach.”
     Case 1:18-cv-03919-SDG        Document 65      Filed 03/20/20    Page 15 of 25




Id. (citing Fowler, 612 N.E.2d at 601). As with most states, Indiana “follows the

American Rule, which requires each party to pay his or her own attorney fees.”

Rogers Grp., Inc. v. Diamond Builders, LLC, 816 N.E.2d 415, 420 (Ind. Ct. App. 2004)

(citing Willie’s Constr. Co. v. Baker, 596 N.E.2d 958, 963 (Ind. Ct. App. 1992)). A party

may, however, “shift the obligation to pay attorney fees through contract or

agreement, and courts will enforce such agreements as long as they are not

contrary to law or public policy.” Rogers Grp., 816 N.E.2d at 420 (citing Willie’s

Constr., 596 N.E.2d at 963).See also Thor Elec., Inc. v. Oberle & Assocs., Inc., 741 N.E.2d

373, 382 (Ind. Ct. App. 2000) (“Generally, attorney’s fees are not recoverable from

the opposing party as costs, damages, or otherwise, in the absence of an agreement

between the parties, statutory authority, or rule to the contrary.”). Specifically,

Indiana courts permit a defendant to recover attorney’s fees and litigation costs

when a party initiates a lawsuit in derogation of a contractual provision. Rogovsky,

2016 WL 6432620, at *3 (permitting defendant to recover attorney’s fees and

litigation costs as “a natural and foreseeable consequence of litigating a motion to

transfer based on a valid forum-selection clause”).
      Case 1:18-cv-03919-SDG     Document 65     Filed 03/20/20   Page 16 of 25




       NCR seeks “damages including, but not limited, to the attorney’s fees and

costs it has expended in defending this action for over a year.” 43 Paragraph 11 of

the 2003 Patent Assignment Agreement contains an indemnification clause:

              Assignees shall indemnify Assignor against and hold
              Assignor harmless from all damages, liability, and costs
              (including reasonable attorneys’ fees and costs of
              litigation or defense incurred by Assignor) incurred by or
              warranted against Assignor, where such damages,
              liability, and/or costs relate to a third party’s claim
              arising out of any breach of this Agreement by
              Assignees. 44

EIC filed this lawsuit in violation of the covenant not to sue, which breached the

2003 Patent Assignment Agreement. Like Rogovsky, this was the substantial factor

contributing to NCR’s damages—NRC was required to expend attorney’s fees and

costs in defending this lawsuit. These damages were foreseeable, as the indemnity

clause is conspicuously placed and the Court has already held that Wong should

have been aware of the covenants in the four-page 2003 Patent Assignment

Agreement. 45 See also Plymale v. Upright, 419 N.E.2d 756, 762 (Ind. Ct. App. 1981)

(“Common sense dictates, and our system of jurisprudence requires the

application of a principle, that parties engaged in the negotiation of a contract or


43   ECF 50-1, at 6.
44   ECF 20-2, at 4 ¶ 11 (emphasis added).
45   ECF 41, at 10.
     Case 1:18-cv-03919-SDG       Document 65      Filed 03/20/20   Page 17 of 25




the sale and purchase of property be obligated to protect their interest by reading

the attendant documents before signing.”). Thus, NCR is entitled to recover its

attorney’s fees and litigation costs as a proper measure of damages. Salcedo,

696 N.E.2d at 436 (“[Defendant] is entitled to a reasonable attorney’s fee for

successfully defending against [plaintiff’s] claim under the Lease Agreement.”).

      NCR has demonstrated that it is entitled to judgment as a matter of law on

its breach of contract claim. Therefore, NCR’s motion for summary judgment is

GRANTED.

      B.     NCR Is Entitled to Attorney’s Fees and Costs Pursuant to
             35 U.S.C. § 285.

      NCR also seeks an award of attorney’s fees and costs pursuant to the fee-

shifting provision of the Patent Act, codified at 35 U.S.C. §285. That provision

states: “The court in exceptional cases may award reasonable attorney fees to the

prevailing party.” See Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S.

545, 548 (2014) (“Section 285 of the Patent Act authorizes a district court to award

attorney’s fees in patent litigation.”); Capital Sec. Sys., Inc. v. NCR Corp., No. 1:14-

cv-1516-WSD, 2018 WL 300549, at *2 (N.D. Ga. Jan. 5, 2018) (“Determining whether

a party should be afforded attorney’s fees under 35 U.S.C. § 285 requires a two-

step inquiry: (1) the court must determine whether the case is ‘exceptional’ and

(2) where the court finds the case is ‘exceptional,’ the court must determine
      Case 1:18-cv-03919-SDG     Document 65     Filed 03/20/20   Page 18 of 25




whether the requested attorney’s fees are appropriate.”) (citing Wedgetail Ltd. v.

Huddleston Deluxe, Inc., 576 F.3d 1302, 1304 (Fed. Cir. 2009)).

       As stated above, NCR’s requested attorney’s fees are appropriate in this

case. 46 Thus, the sole remaining question is whether this case qualifies as

“exceptional” under the relevant law. “An exceptional case is one that, under the

totality of the circumstances, stands out from others with respect to the substantive

strength of a party’s litigating position or the unreasonable manner in which the

case was litigated.” Thermolife Int’l LLC v. GNC Corp., 922 F.3d 1347, 1356

(Fed. Cir. 2019) (quoting Octane Fitness, 572 U.S. at 554). Examples of exceptionality

include “inequitable conduct before the PTO; litigation misconduct; vexatious,

unjustified, and otherwise bad faith litigation; a frivolous suit or willful

infringement.” Wedgetail, 576 F.3d at 1304–05. See also Brasseler, U.S.A. I, L.P. v.

Stryker Sales Corp., 267 F.3d 1370, 1380 (Fed. Cir. 2001) (“Exceptional cases are

normally those involving bad faith litigation or those involving inequitable

conduct by the patentee in procuring the patent.”). The Court has the discretion to

consider whether a case is “exceptional” on a case-by-case basis, viewing the

totality of the circumstances. Octane Fitness, 572 U.S. at 554. The party seeking fees




46   Supra at 14–17.
      Case 1:18-cv-03919-SDG      Document 65      Filed 03/20/20   Page 19 of 25




must show exceptionality by a preponderance of the evidence. Site Update Sols.,

LLC v. CBS Corp., 639 F. App’x 634, 637 (Fed. Cir. 2016) (citing Octane Fitness,

572 U.S. at 558).

        NCR contends this case is “exceptional” because “EIC—at the direction of

Mr. Wong—had no reasonable basis for bringing this lawsuit in the first place and

its bad faith intentions have been apparent since the start.” 47 NCR states that

“[e]ven if EIC had a reasonable basis for initiating this lawsuit . . . it certainly had

no reasonable basis for maintaining it.” 48 NCR points to statements in EIC’s

answer, and Wong’s previously-filed affidavits, to argue Wong and Miles created

EIC for the sole purpose of asserting an infringement claim against NCR that they

were otherwise prohibited from filing pursuant to the 2003 Patent Assignment

Agreement. In its Answer to NCR’s counterclaims, EIC conceded that “Mr. Wong

authorized initiation and maintenance of this action, and that the referenced

agreements preclude it.” 49 NCR asserts EIC’s main objective was to obtain a nuisance

settlement. 50 EIC, of course, argues that this case does not qualify as exceptional,




47   ECF 50-1, at 10.
48   Id. at 11.
49   ECF 25, ¶ 42 (emphasis added).
50   ECF 50-1, at 10–13.
      Case 1:18-cv-03919-SDG      Document 65      Filed 03/20/20   Page 20 of 25




its allegations in the Complaint and opposing summary judgment did not lack

merit, and it has pursued this litigation in good faith.

       The Court agrees this case is “exceptional.” The record shows that EIC had

no reasonable basis for initiating or maintaining this infringement lawsuit except

in bad faith. EIC’s Complaint asserted no meritorious theory of infringement.

Instead, EIC’s entire argument rested on the plain language of the four-page

2003 Patent Assignment Agreement signed by Wong, who personally abided by

the covenant not to sue and collected royalties for over a decade until forming a

holding company with no assets or business, then using the holding company to

sue NCR for infringement three months later. Both Wong and EIC concede they

knew the covenant not to sue barred this suit from the outset. 51 Despite NCR’s

counsel’s numerous attempts to curb this suit before NCR expended attorney’s

fees and costs in its defense, EIC trudged forward. 52

       Thus, EIC’s filing and maintenance of this lawsuit with the knowledge that

its claims were precluded, solely to undermine the very contract Wong agreed to

over a decade prior, is sufficient to make this case “exceptional” and permit fee

shifting under 35 U.S.C. § 285. Eltech Sys. Corp. v. PPG Indus., Inc., 903 F.2d 805, 810


51   ECF 54-1, ¶ 18.
52   See ECF 44-1; ECF 50-4.
     Case 1:18-cv-03919-SDG     Document 65     Filed 03/20/20    Page 21 of 25




(Fed. Cir. 1990) (“The filing and maintaining of an infringement suit which the

patentee knows, or on reasonable investigation should know, is baseless

constitutes grounds for declaring a case exceptional under 35 U.S.C. § 285 and

awarding costs, attorney fees, and expenses to the accused infringer.”). NCR may

recover its attorney’s fees and litigation costs under the fee shifting provision of

the Patent Act.

      C.    Sanctions Are Not Warranted Against EIC’s Legal Counsel.

      NCR also requests that the Court impose sanctions against EIC’s legal

counsel pursuant to 28 U.S.C. § 1927:

            Any attorney . . . who so multiplies the proceedings in
            any case unreasonably and vexatiously may be required
            by the court to satisfy personally the excess costs,
            expenses, and attorneys’ fees reasonably incurred
            because of such conduct.

In the Eleventh Circuit, there are three requirements for an award of sanctions

under § 1927:

            First, the attorney must engage in unreasonable and
            vexatious conduct. Second, that unreasonable and
            vexatious conduct must be conduct that multiplies the
            proceedings. Finally, the dollar amount of the sanction
            must bear a financial nexus to the excess proceedings, i.e.,
            the sanction may not exceed the costs, expenses, and
            attorneys’ fees reasonably incurred because of such
            conduct.
     Case 1:18-cv-03919-SDG       Document 65      Filed 03/20/20   Page 22 of 25




Amlong & Amlong, P.A. v. Denny’s, Inc., 500 F.3d 1230, 1239 (11th Cir. 2007). “[A]n

attorney multiplies proceedings ‘unreasonably and vexatiously’ within the

meaning of the statute only when the attorney’s conduct is so egregious that it is

tantamount to bad faith.” Id. (citing Avirgan v. Hull, 932 F.2d 1572, 1582

(11th Cir. 1991)). The Court may “impose sanctions for egregious conduct by an

attorney even if the attorney acted without the specific purpose or intent to

multiply the proceedings.” Id. at 1241. Sanctions are permissible when “an

attorney knowingly or recklessly pursues a frivolous claim or engages in litigation

tactics that needlessly obstruct the litigation of non-frivolous claims.” Id. However,

§ 1927 is not a “’catch all’ provision designed to serve as a basis for sanctioning

any and all attorney conduct courts want to discourage.” Peterson v. BMI

Refractories, 124 F.3d 1386, 1396 (11th Cir. 1997). The Court has the broad discretion

to “rely on its inherent power to sanction bad faith conduct in the course of

litigation.” Peer v. Lewis, 606 F.3d 1306, 1315 (11th Cir. 2010).

      The Court finds that while EIC’s counsel could have—and perhaps should

have—taken a more conservative approach and pushed back against EIC’s desire

to pursue this patent infringement claim, there is insufficient record evidence

before the Court to support sanctions. EIC’s counsel has declared, under oath, that

he engaged in a pre-suit investigation before filing this lawsuit and believed the
      Case 1:18-cv-03919-SDG      Document 65      Filed 03/20/20    Page 23 of 25




claim was “plausible.” 53 The sole email relied on by NCR, in which EIC’s counsel

requests “any documentation evidencing the [patent] license [NCR is] claiming, as

we am [sic] not aware of any such license,” is not enough to demonstrate the level

of bad faith necessary for sanctions. 54 In hindsight, it is easy to say that this action

was meritless and should never have been brought. However, “something more

than a lack of merit is required,” and the Court is not firmly convinced that EIC’s

counsel acted egregiously or in bad faith. 55 Amlong, 500 F.3d at 1242. Therefore, the

Court declines to sanction EIC’s legal counsel.




53   ECF 54-3, at 2.
54   ECF 50-4. NCR also asserts EIC’s legal counsel “sought to extract a nuisance
     settlement, below the cost of defense, followed by threats to sue NCR’s
     customers.” ECF 50-1, at 12. Repeated attempts to extract a nuisance settlement
     can be a basis for levying sanctions against an attorney. Eon-Net LP v. Flagstar
     Bancorp, 653 F.3d 1314, 1327 (Fed. Cir. 2011) (“The record supports the district
     court’s finding that Eon–Net acted in bad faith by exploiting the high cost to
     defend complex litigation to extract a nuisance value settlement from
     Flagstar.”). However, NCR relies on conclusory statements and fails to provide
     the Court with any evidence regarding the substance, value, frequency, or
     merit of the settlement discussions. See ECF 44-1 (demand letter from NCR’s
     counsel discussing settlements). Given this lack of evidence, the alleged
     nuisance settlement attempts do not warrant sanctions against EIC’s counsel.
55   The Court notes that nothing in the record indicates that NCR pursued Rule
     11 sanctions against EIC’s legal counsel, which also weighs against a finding
     of bad faith.
      Case 1:18-cv-03919-SDG      Document 65        Filed 03/20/20   Page 24 of 25




       D.      NCR May Not Hold Earl Wong Personally Liable in this Action.

       Finally, NCR requests that the Court hold Wong, a non-party, personally

liable for its attorney’s fees and litigation costs. NCR asserts that Wong should be

held personally liable “even absent joinder and without piercing the corporate

veil, to uphold the purpose of Section 285 and prevent individuals from skirting

liability by hiding behind the corporate veil.” 56

       On January 10, 2019, NCR filed a motion for leave to amend its

Counterclaims to add Wong individually as a counterclaim defendant. 57 On March

22, 2019, the Court denied NCR’s motion, stating that “[t]he Court is not satisfied

that Wong has subjected himself to personal jurisdiction in Georgia.” 58 Pursuant

to this Order, Wong did not personally defend himself against NCR’s

Counterclaims or its instant request for personal liability. This lack of

representation raises due process concerns. Ins. Corp. of Ireland v. Compagnie des

Bauxites de Guinee, 456 U.S. 694, 706 (1982) (“Until the court has established

personal jurisdiction . . . any assertion of judicial power over the party violates due

process.”). While Wong may well have dictated EIC’s actions before and during


56   ECF 50-1 (citing Iris Connex, LLC v. Dell, Inc., 235 F. Supp. 3d 826, 832–33
     (E.D. Tex. 2017)).
57   ECF 44.
58   ECF 47.
      Case 1:18-cv-03919-SDG    Document 65     Filed 03/20/20   Page 25 of 25




this lawsuit, the Court declines to deem him personally liable without holding

personal jurisdiction over him. The Court notes, however, that nothing in this

Order necessarily forecloses NCR’s ability to seek redress against Wong in an

appropriate jurisdiction.

IV.    CONCLUSION

       Based on the foregoing, NCR’s motion for summary judgment [ECF 50] is

GRANTED. The Court ORDERS NCR to submit a motion, with accompanying

affidavits and supporting evidence, articulating its requested damages award

within 21 days after entry of this Order. The motion should be accompanied by a

proposed final judgment order detailing, in specific dollar amounts, the award

NCR believes it is owed. EIC may respond within 14 days after the filing of NCR’s

motion. None of the briefs should exceed 10 pages in length. No reply brief shall

be filed. The Court may, in its discretion, conduct an evidentiary hearing and oral

argument to determine the proper award.

       SO ORDERED this the 20th day of March 2020.




                                                    Steven D. Grimberg
                                              United States District Court Judge
